                                  UNITED STATES DISTRICT COURT
                                           WESTERN DISTRICT OF MISSOURI
                                                WESTERN DIVISION

UNITED STATES OF AMERICA                                              §      JUDGMENT IN A CRIMINAL CASE
                                                                      §      (For Revocation of Probation or Supervised Release)
v.                                                                    §
                                                                      §      Case Number: 4:16-00310-01-CR-W-RK
JONATHAN JASON MCCLARIN                                               §      USM Number: 10543-059
                                                                      §      Allison McKinsey English, AFPD
                                                                             Defendant’s Attorney
                                                                      §



     The defendant stipulates to violating the mandatory and standard conditions of supervision. The defendant is
☒ adjudicated guilty of the following violation(s):

Violation Number                                                    Nature of Violation

Standard                         The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
                                 use, distribute, or administer any controlled substance or any paraphernalia related to any
                                 controlled substances, except as prescribed by a physician.

Mandatory                        The defendant shall refrain from any unlawful use of a controlled substance.




       The defendant is sentenced as provided in page 2 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

        It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of
material changes in economic circumstances.


Defendant’s Soc. Sec. No.:                XXX-XX-4231                                        Date of Imposition of Sentence:
                                                                                             September 13, 2017
Defendant’s Date of Birth:                10/18/85
Defendant’s Mailing Address:              c/o U.S. Marshal’s Service                          /s/ Roseann A. Ketchmark_____
                                          400 E. 9th Street,                                 ROSEANN A. KETCHMARK
                                          Kansas City, MO 64106                              U.S. DISTRICT JUDGE

Defendant’s Residence Address:            Same                                               September 14, 2017




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DEFENDANT:                Jonathan Jason McClarin
CASE NUMBER:              4:16-00310-01-CR-W-RK

                                                       IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of: 24 MONTHS.

                                     NO SUPERVISED RELEASE TO FOLLOW.


☒     The defendant is remanded to the custody of the U.S. Marshal.


                                                         RETURN
        I have executed this judgment as follows:


        Defendant delivered on                                   to


at                                     , with a certified copy of this judgment.




                                                              U.S. MARSHAL




                                                              DEPUTY U.S. MARSHAL




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